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                                                                                      FILED
                      IN THE UNITED STATES DISTRICT COUF T
                      FOR THE EASTERN DISTRICT OF VIRGIN lA                         JUN 2 2 2018
                                  Norfolk Division

                                                                            CLERK, U.S. DSSTRlCT COURT
                                                                                      NORFOLK. VA     __


UNITED STATES OF AMERICA,

          V.

                                                                        Criminal No. 2:17mj-562

ERIC BRIAN BROWN,


               Defendant.


                                             ORDER


       Before the Court is Defendant's Motion For Judicial Review of Administrative Decision

On Involuntary Medication. ECF No. 34. The parties have provided briefs in support of their

respective positions and this matter is now ripe for judicial determination. For the reasons stated

on the record and outlined below, Defendant's Motion is DENIED.

       For background, Defendant was found incompetent to stand trial and was committed to

the Federal Medical Center at Butner ("FMC Butner") for further evaluation and psychiatric

treatment. ECF No. 24. On May 31, 2018, officials from the FMC Butner notified defense

counsel that an intemal administrative proceeding would be held on June 1, 2018, to determine

whether medical personnel would forcibly medicate Defendant. ECF No. 26. Defendant then

filed a preliminary injunction to enjoin medical personnel at the FMC Burner from forcibly

medicating Defendant until a judicial hearing determined its appropriateness. !d.

       On June 1, 2018, the Court held a hearing on the preliminary injunction and denied

Defendant's motion. ECF No. 30, In that order, the Court also stayed any forcible medication

procedure until the Court conducted a hearing to determine its appropriateness. Id.



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     • On June 1,2018, the FMC Butner staff conducted the administrative hearing and

determined that involuntary medication was necessary because Defendant was a danger to

himself or others, and was gravely disabled. See ECF No. 37 at 4. Defendant subsequently filed

an administrativeappeal and the Warden at the FMC affirmed the decision to involuntarily

medicate Defendant. Id. at 35-37. Defendant filed this instant motion for review of the

administrative decision and the Government filed a response in opposition on June 12,2018, and

June 19,2018, respectively. ECF No. 34, 39. On June 21,2018, Defendant filed a reply, and the

Coiut also held a hearing on this matter.

       The Bureau of Prisons ("BOP") may forcibly medicate an inmate after holding an

administrative hearing —otherwise known as a Harper hearing. See generally, Washington v.

Harper, 494 U.S. 210 (1990). The procedures for this hearing are outlined in 28 C.F.R. § 549.46.

and require the following;

           1. Unless an exception exists as provided in paragraph (b) of this section, the inmate
              will not be involuntarily administered psychiatric medication before the hearing.
           2. The inmate must be provided 24-hours advance written notice of the date, time,
              place, and purpose, of the hearing, including an explanation of the reasons for the
              psychiatric medication proposal.
           3. The inmate must be informed of the right to appear at the hearing, to present
              evidence, to have a staff representative, to request witnesses, and to request that
              witnesses be questioned by the staff representative or by the person conducting
               the hearing. If the inmate does not request a staff representative, or requests a staff
              representative with insufficient experience or education, or one who is not
              reasonably available, the institution mental health division administrator must
              appoint a qualified staff representative.
           4. The hearing is to be conducted by a psychiatrist other than the attending
              psychiatrist, and who is not currently involved in the diagnosis or treatment of the
               inmate.
           5. Witnesses should be called if they are reasonably available and have information
              relevant to the inmate's mental condition or need for psychiatric medication.
              Wimesses who will provide only repetitive information need not be called.
           6. A treating/evaluating psychiatrist/clinician, who has reviewed the case, must be
              present at the hearing and must present clinical data and background information
              relative to the inmate's need for psychiatric medication. Members of the
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               treating/evaluating team may also be called as witnesses at the hearing to provide
               relevant information.
           7. The psychiatrist conducting the hearing must determine whether involimtary
              administration of psychiatric medication is necessary because, as a result of the
              mental illness or disorder, the inmate is dangerous to self or others, poses a
              serious threat of damage to property affecting the security or orderly running of
              the institution, or is gravely disabled (manifested by extreme deterioration in
              personal functioning).
           8. The psychiatrist must prepare a written report regarding the initial decision. The
              inmate must be promptly provided a copy of the initial decision report, and
              informed that he/she may appeal it to the institution's mental health division
              administrator. The inmate's appeal, which may be handwritten, must be submitted
              within 24 hours after receipt of the hearing officer's report. Upon request of the
              inmate, the staff representative will assist the irunate in preparing and submitting
              the appeal.
           9. If the inmate appeals the initial decision, psychiatric medication must not be
              administered before the administrator issues a decision on the appeal, unless an
              exception exists as provided in paragraph (b) of this section. The inmate's appeal
              will ordinarily be reviewed by the administrator or his designee within 24 hours
               of its submission. The administrator will review the initial decision and ensure
               that the inmate received all necessary procedural protections, and that the
               justification for administering psychiatric medication is appropriate.
           10. If an inmate was afforded an administrative hearing which resulted in the
               involuntary administration of psychiatric medication, and the inmate subsequently
               consented to the administration of such medication, and then later revokes his
               consent, a follow-up hearing will be held before resuming the involuntary
               administration of psychiatric medication. All such follow-up hearings will fully
               comply with the procedures outlined in paragraphs (a)(1) through (10) of this
               section.
28 C.F.R. § 549.46.

       Moreover, judicial review of a BOP's administrative decision to forcibly medicate is

reviewed for arbitrariness. United States v. Morgan, 193 F.3d 252,263 (4th Cir. 1999); see also

Harper, 494 U.S. at 236 (fmding that the procedural safeguards outlined in 28 C.F.R. § 549.46

satisfy due process).

       Defendant admits in his motion that the report Dr. Graddy and his colleagues prepared

was thorough and well written. See ECF No. 34 at 4, 6. However, Defendant challenges the

BOP's compliance with 28 C.F.R. § 549.46's requirement that the Defendant be appointed a

"qualified staff representative." Id; see also, 28 C.F.R. § 549.46 (3). In Defendant's view, the
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appointed staff representative, Nurse Janet Oakley's ("Ms. Oakley")» qualification to serve as a

"qualified staff representative" during the administrative hearing was doubtful. ECF No. 34 at 4.

Defendant also contends that Ms. Oakley's failure to challenge the medical findings or raise

issues to support not forcibly medicating Defendant further raises doubts as to the BOP's

compliance with the procedural safeguards outlined in 28 C.F.R. § 549.46. Id. at4-6.' The Court
finds otherwise.


       First, the Court finds that Ms. Oakley's background, experience, and credentials, meet the

requirements to be a "qualified staff representative." Ms. Oakley has been a registered nurse for

twenty years and is board certified. See Oakley Decl., ECF No. 39-1 at 1-3. In addition, Ms.

Oakley has worked at FMC Burner for over seventeen years and has worked in the mental health

units that serve patients suffering from a variety of mental health disorders including

schizophrenia. Id. at 3, Accordingly, the Court finds Ms. Oakley was a "qualified staff

representative."

        In so holding, the Court also rejects Defendant's argument that his due process rights

were violated because Ms. Oakley did not subject Dr. Graddy's findings to meaningful

adversarial testing. ECF No. 34 at 5-6. The Court cannot find any language within the procedures

outlined above in 28 C.F.R. § 549.46 or case law supporting such a requirement. Moreover, the

fact that Ms. Oakley did not present any evidence or raise an objection does not support a

conclusion that she failed to carry out her duties as a staff representative. Indeed, the fact that

Ms. Oakley discussed that Defendant was consuming meals regularly demonstrates that she



       ' Defendant's motion also requested that the Court permit evidence to be heard atthe hearing, including the
       testimony of Dr. Graddy to determine the appropriateness of forcible medication. ECF No. 34. The Court
       however declined to permit such evidence given the limited scope ofjudicial review for administrative
       decisions to forcibly medicate. See Morgan, 193 F.3d at 2S8-6S (discussing that detainee was not entitled to
       evidentiary hearing before the district court but only a limited review to determine if administrative
       decision was arbitrary).
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offered some evidence in support of not forcibly medicating Defendant. See Oakley Decl., ECF

No. 39-1 at 5.


        In sum, the Court, having thoroughly reviewed the administrative report, finds that the

FMC Butner complied with the procedural safeguards outlined above in 28 C.F.R. § 549.46 and

thus its finding that Defendant should be forcibly medicated was not arbitrary. As such, the

Court will not disturb the BOP's decision to forcibly medicate Defendant.

        Accordingly, Defendant's Motion For Judicial Review of Administrative Decision On

Involuntary Medication is DENIED.

        It is further ORDERED that this Court's Stay Of Any Forcible Medication Procedure As

Outlined in the June 4, 2018, Order Is LIFTED.

        It is further ORDERED that the BOP May Forcibly Medicate Defendant in accordance

with its decision outlined in its report filed with the Court.

       The Clerk is DIRECTED to provide a copy of this Order to the United States Attorney,

the United States Marshal, the United States Pretrial Services Office, counsel of record for the

Defendant, and the Federal Medical Center located in Butner, North Carolina.

       IT IS SO ORDERED.



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